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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION
                              CASE NO. 1:23-CV-00161-GNS

                                        Electronically Filed

JANE DOE                                                                                PLAINTIFF

V.                                      AGREED ORDER

DOUG GORMAN, Warren County Judge Executive,
In his official capacity only;
STEPHEN HARMON, Chief Jailer at Warren County Regional Jail,
In his official capacity only;
BROOKE LINDSEY HARP, Deputy Jailer at Warren County Regional Jail,
In her individual capacity only;
BENJAMIN CARROLL, Officer at Bowling Green Police Department,
In his individual capacity only;
OFFICER SMITH 1, Officer at Warren County Regional Jail,
In her individual capacity only; and
OFFICER SMITH 2, Officer at Warren County Regional Jail,
In her individual capacity only                                                     DEFENDANTS


        This matter is before the Court by agreement of the parties as is evidenced by the signatures

of their respective counsel below. The Court being sufficiently advised;

        IT IS HEREBY ORDERED AND ADJUDGED as follows:

        1.     The Plaintiff hereby voluntarily dismisses each of her claims against Defendant,

Doug Gorman, Warren County Judge Executive, in his official capacity, without prejudice.

Defendant Gorman hereby withdraws his previously filed motion to dismiss (DN 11) as being

moot.

        2.     The Plaintiff hereby voluntarily dismisses each of her claims against Defendant,

Benjamin Carroll, Officer at Bowling Green Police Department, in his individual capacity, without

prejudice. Defendant Carroll hereby withdraws his previously filed motion to dismiss (DN 10) as

being moot.
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       3.      The Plaintiff has requested leave to file a first amended complaint and the

Defendants consent to same pursuant to Fed. R. Civ. P. 15(a)(2). The Defendants named in the

forthcoming first amended complaint shall have 20 days from the filing of said amended complaint

to file their responsive pleadings.

       4.      Defendants Harmon, Harp, Smith 1, and Smith 2 hereby withdraw their previously

filed motion to dismiss (DN 11) as being moot. All Defendants shall be allowed leave to re-file a

motion to dismiss if subsequently named in an amended complaint by the Plaintiff.

       5.      The Plaintiff’s motion for temporary restraining order or preliminary injunction

(DN 3) was previously withdrawn by the Plaintiff on January 25, 2024 (DN 22).

       6.      The Plaintiff’s deadline to file a reply in support of her motion for protective order

(DN 4) is hereby extended to March 1, 2024.




HAVE SEEN AND AGREE:
                                                                           February 16, 2024
CAIR NATIONAL LEGAL DEFENSE FUND
/s/ Lena F. Masri (with permission)
Lena F. Masri (VA 93291)*
Kimberly Noe-Lehenbauer (OK 34744)*
Zanah Ghalawanji (MI P83116)*
Co-Counsel for Plaintiff

Roula Allouch (Kentucky Bar No. 91594)
Co-Counsel for Plaintiff

*Admitted Pro Hac Vice

/s/ Matthew P. Cook
Matthew P. Cook
Counsel for Defendants

DISTRIBUTION: All Counsel of Record

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